                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

   In re:                                           )
                                                    )
   MISSION COAL WIND DOWN CO LLC,                   )   Case No. 18-04177-TOM11
   et al.,                                          )
                                                    )   Chapter 11
                   Debtors.                         )
                                                    )   (Jointly Administered)
                                                    )
                                                    )
   SEAN C. SOUTHARD, in his capacity as             )
   the Liquidating Trustee of the Mission           )
   Liquidating Trust,                               )
                                                    )   Adv. Proc. No. 19-00090-TOM
                   Plaintiff,                       )
                                                    )
   v.                                               )
                                                    )
   JASON McCOY and KENNETH McCOY,                   )
                                                    )
                  Defendants.                       )

                   MOTION FOR ISSUANCE OF WRITS OF EXECUTION
                                 (Kenneth McCoy)

         Pursuant to Rule 69(a) of the Federal Rules of Civil Procedure, as made applicable herein

 pursuant to Rule 7069 of the Federal Rules of Bankruptcy Procedure, and Ala. Code § 6-9-1, Sean

 C. Southard, in his capacity as the Liquidating Trustee of the Mission Liquidating Trust (the

 "Plaintiff"), moves the Court to authorize the Clerk of this Court to issue writs of execution

 appointing the U.S. Marshal for the Western District of Virginia to seize and sell certain real and

 personal property owned by Kenneth McCoy (the "Defendant"). In support of his motion, the

 Plaintiff states as follows:

                                           JUDGMENT

         1.      A final judgment in the amount $2,400,000.00 was entered against the Defendant

 in the above-entitled action on August 5, 2021 (the "Judgment").



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             2.      No supersedeas bond has been posted, nor is a stay of execution or proceedings to

 enforce the Judgment in effect.

             3.      No payment has been made on the Judgment and the amount due through March

 25, 2022 was in the following amount:

             $2,400,000.00 Amount of original Judgment.
             $0.00         Plus pre-judgment interest for the period from [not applicable] to [not
                            applicable] of $[not applicable] per diem.
             $76,274.63    Plus post-judgment interest for the period from August 6, 2021
                            through March 25, 2022 of $328.77 per diem. 1
             $350.00       Plus court costs.
             $0.00         Plus post-judgment attorney's fees, if allowed by judgment.
             $1,651.61.    Less payments made.
             $2,474,973.02 TOTAL DUE ON JUDGMENT.

                  REAL AND PERSONAL PROPERTY SUBJECT TO EXECUTION

             4.      The Defendant has indicated in response to the Plaintiff's postjudgment discovery

 that he owns, controls, or otherwise has an interest in certain real and personal property (the

 "Property") that is located in the Western District of Virginia (Lee County, Virginia) and that is

 more particularly described in Exhibit "A" hereto, which is a copy of the relevant pages of the

 Defendant's responses to the Plaintiff's written postjudgment discovery requests.

                         AUTHORITY FOR ISSUANCE OF WRITS OF EXECUTION

             5.      Federal Rule of Civil Procedure 69(a)(1) provides that a "money judgment is

 enforced by a writ of execution, unless the court directs otherwise. The procedure on execution--

 and in proceedings supplementary to and in aid of judgment or execution--must accord with the

 procedure of the state where the court is located, but a federal statute governs to the extent it

 applies." Fed. R. Civ. P. 69(a)(1). See also HOC, Inc. v. McAllister (In re McAllister), 216 B.R.

 957, 962 (Bankr. N.D. Ala. 1998) ("The sole federal statutory framework for enforcing money



 1
     Based on the 5.0% post-judgment interest rate specified in the judgment.




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 judgments entered by bankruptcy courts is found in Rule 69 of the Federal Rules of Civil

 Procedure").

          6.        The relevant state law, Ala. Code § 6-9-1, authorizes the issuance of writs of

 execution against the "lands and goods of the party against whom judgment is entered," See Ala.

 Code § 6-9-1, and the relevant state procedure, Ala. R. Civ. P. 69, comports with Rule 69 of the

 Federal Rules of Civil Procedure. See Ala. R. Civ. P. 69.

          7.        But because the writs of execution here will issue from a bankruptcy court, the

 Plaintiff says that Rule 7004(d) authorizes this Court to appoint the U.S. Marshal for the Western

 District of Virginia to execute the writs of execution. See Fed. R. Bankr. P. 7004(d), Premier

 Sports Tour v. Five Star Tickets, Inc. (In re. Premier Sports Tours d/b/a Premiere Charters), 283

 B.R. 601, 603-04 (Bankr. M.D. Fla. 2002); American Freight Sys. v. Temperature Sys. (In re.

 American Freight Sys.), 173 B.R. 739, 742-43 (Bankr. D. Kan. 1994) (analogous bankruptcy court

 decisions holding that writs of garnishment issued pursuant to Rule 69 could be served and

 executed in a federal district located in another state pursuant to Rule 7004(d)). See also Reynolds

 v. Behrman Capital IV L.P., 988 F.3d 1314 (11th Cir. 2021) ("Bankruptcy Rule 7004(d) permits

 nationwide service of process: 'The summons and complaint and all other process except a

 subpoena may be served anywhere in the United States.' In this circuit, when a federal statute or

 rule 'provides for nationwide service of process, it becomes the . . . basis for federal jurisdiction'")

 (emphasis added).2




 2
   But see In re McAllister, 216 B.R. 957 (Bankr. N.D. Ala. 1998) (Judge Cohen) (finding that bankruptcy court lacked
 jurisdiction to issue garnishment against bank in North Carolina pursuant to Rule 7004(d)).

 The Plaintiff says that the McAllister decision should no longer be followed with respect to this particular issue due
 to the holding in the Reynolds v. Behrman decision by the Eleventh Circuit, cited above, that "In this circuit, when a
 federal statute or rule 'provides for nationwide service of process, it becomes the . . . basis for federal jurisdiction'").




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                                    REQUEST FOR RELIEF

        8.      The Plaintiff requests that the Court authorize the Clerk of this Court to issue writs

 of execution appointing the U.S. Marshal for the Western District of Virginia to seize and sell the

 Defendant's Property so that the Plaintiff may apply the proceeds towards the satisfaction of his

 Judgment.

        9.      Further, because the Defendant's postjudgment deposition testimony was unclear

 regarding whether he owned the Property himself, or whether he owned the Property with his

 spouse, or in his capacity as a member or shareholder of an entity, the Plaintiff requests that the

 Court give the Defendant an opportunity to respond regarding his ownership interest in the

 Property before the writs are issued, and that the Defendant's response, if any is filed, provide

 supporting records to show Defendant's ownership interest (of lack thereof) regarding each item

 included in the Property.

        WHEREFORE, the Plaintiff, Sean C. Southard, in his capacity as the Liquidating Trustee

 of the Mission Liquidating Trust, requests that the Court (1) schedule a hearing to consider the

 Plaintiff's request that the Court authorize the Clerk of this Court to issue writs of execution

 appointing the U.S. Marshal for the Western District of Virginia to seize and sell the Defendant's

 Property and (2) order the Defendant to file any response regarding his ownership interest in the

 Property prior to the hearing date and to include in the response supporting records to show

 Defendant's ownership interest (of lack thereof) regarding each item included in the Property. A

 proposed order is attached hereto as Exhibit "B."




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                                             Respectfully submitted,


                                             /s/ Bradley R. Hightower
                                             Daniel D. Sparks
                                             Bradley R. Hightower
                                             Attorneys for Sean C. Southard, in his capacity as the
                                             Liquidating Trustee of the Mission Liquidating Trust



 OF COUNSEL:
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                                 CERTIFICATE OF SERVICE
         I hereby certify that I have this date served a copy of the foregoing upon all counsel of
 record in this cause by (as indicated below) the CM/ECF system, or by placing a copy of same in
 the United States mail, postage prepaid, addressed as follows, this 18 th day of April, 2022.

 Via CM/ECF Notice:

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 c/o Roberto J. Kampfner
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                                         /s/ Bradley R. Hightower
                                         Bradley R. Hightower




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                                     Exhibit A




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                                            Exhibit "B"
                                          Proposed Order


                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

  In re:                                            )
                                                    )
  MISSION COAL WIND DOWN CO LLC,                    )   Case No. 18-04177-TOM11
  et al.,                                           )
                                                    )   Chapter 11
                   Debtors.                         )
                                                    )   (Jointly Administered)
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  SEAN C. SOUTHARD, in his capacity as              )
  the Liquidating Trustee of the Mission            )
  Liquidating Trust,                                )
                                                    )   Adv. Proc. No. 19-00090-TOM
                   Plaintiff,                       )
                                                    )
  v.                                                )
                                                    )
  JASON McCOY and KENNETH McCOY,                    )
                                                    )
                  Defendants.                       )

             ORDER ON MOTION FOR ISSUANCE OF WRITS OF EXECUTION
                               (Kenneth McCoy)

           Sean C. Southard, in his capacity as the Liquidating Trustee of the Mission Liquidating

 Trust (the "Plaintiff") filed a Motion for Issuance of Writs of Execution [Docket No. (the

 “Motion”) in this Court on the [] day of April, 2022. In his Motion, the Plaintiff moves the Court

 to authorize the Clerk of this Court to issue writs of execution appointing the U.S. Marshal for the

 Western District of Virginia to seize and sell certain real and personal property owned by Kenneth

 McCoy (the "Defendant") located in that district. The Plaintiff further requests that the Court

 schedule a hearing to consider the Plaintiff's request before any writs are issued and order the




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 Defendant to file any response regarding his ownership interest in the Property prior to the hearing

 date.

         The Court, having considered the Plaintiff's Motion, ORDERS that:

         1.       The Plaintiff's Motion is scheduled for hearing on [insert date], 2022, at [insert

 time], [insert physical location or specify that hearing is by telephone].

         2.       The Defendant shall file any response disputing the Plaintiff's allegations or

 otherwise asserting that some or all of the Property is not subject to execution at least two (2) days

 prior to the hearing date.

         3.       The Defendant's response shall include supporting records to show Defendant's

 ownership interest (of lack thereof) regarding each item included in the Property.

         Dated:

                                                       _________________________________
                                                       Tamara O. Mitchell
                                                       United States Bankruptcy Judge



 This Order Prepared By:

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